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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:                        ) CASE NO. 20-62169-LRC
                                )
  CYNTHIA ANDERSON-GRAYSON,     ) CHAPTER 13
                                )
        Debtor.                 )
                                )
                                )
  U.S. BANK TRUST NATIONAL      ) CONTESTED MATTER
  ASSOCIATION, AS TRUSTEE FOR   )
  THE CABANA SERIES III TRUST,  )
                                )
        Movant,                 )
                                )
  vs.                           )
                                )
  CYNTHIA ANDERSON-GRAYSON, and )
  MELISSA J. DAVEY, Trustee,    )
                                )
        Respondents.            )
                                )

                 MOTION FOR RELIEF FROM AUTOMATIC STAY
                          AND FOR IN REM RELIEF,
           OR IN THE ALTERNATIVE, FOR DISMISSAL WITH PREJUDICE

           COMES NOW, U.S. Bank Trust National Association, as Trustee of the Cabana
  Series III Trust, c/o BSI Financial Services, Inc., its servicing agent ("Movant"), and
  hereby shows this Court the following:

                                               1.

           Pursuant to 11 U.S.C. Section 105(a), 11 U.S.C. Section 362(d), and Fed. R.
  Bankr. P. 4001, Movant seeks an order that terminates the automatic stay as to Movant

  and grants in rem relief for purposes of allowing Movant to enforce its security interest in
  certain real property of the estate, commonly known as 1699 Braeburn Drive, Atlanta,

  GA 30316 (“Real Property”) in accordance with the terms of a certain security deed and

  with applicable non-bankruptcy law. In the alternative, Movant seeks an order that
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  dismisses the above-styled matter with prejudice and that bars Debtor from filing a

  bankruptcy in any chapter for a period of 180 days.

                                               2.

         Debtor filed the above-styled pro se Chapter 13 on February 4, 2020.

                                               3.

         Movant holds a claim secured by the Real Property. True and correct copies of

  the subject loan documents are collectively attached hereto as Exhibit “A” and

  incorporated herein by reference.

                                               4.

         Debtor is delinquent on the following post-petition payments:

         1 Payment Due 02/19/2020 @ $899.67: $899.67

                             Reinstatement Total: $899.67

                                               5.

         The Real Property is not necessary for an effective reorganization, and a viable

  reorganization is not in prospect.

                                               6.

         Movant is not adequately protected.

                                               7.

         Debtor has little equity, if any, in the Real Property. Pursuant to the Dekalb

  County Tax Assessor, the value of the Real Property is approximately $224,300.00. A

  true and correct copy of the 2019 assessment is attached hereto as Exhibit "B" and

  incorporated herein by reference. As of February 10, 2020, the payoff on the subject loan

  was approximately $187,583.83, excluding attorney's fees and costs for this Motion, with

  an unpaid principal balance of $73,486.81.            The subject loan is due for the

  August 19, 2009 payment.
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                                                  8.

         Debtor has demonstrated a clear inability to successfully reorganize, and this

  inability warrants the lifting of the automatic stay.

                                                  9.

         The above-styled bankruptcy case is the Debtor's seventh Chapter 13 (six of
  which were pro se) involving the Real Property. Debtor has failed to file any schedules

  in this case. The prior cases are as follows:

                1) 19-67686-LRC, pro se Chapter 13 filed on November 4, 2019
         and voluntarily dismissed on December 5, 2019 (no schedules filed);
                2) 18-57484-LRC, pro se Chapter 13 filed on May 1, 2018 and
         dismissed on June 7, 2018 (for failure to correct filing deficiency) (no
         schedules filed);
                3) 17-63453-LRC, pro se Chapter 13 filed on August 1, 2017 and
         dismissed on September 7, 2017 (for failure to correct filing deficiency)
         (no schedules filed);
                4) 17-50140-LRC, pro se Chapter 13 filed on January 3, 2017 and
         dismissed on February 10, 2017 (for failure to correct filing deficiency)
         (no schedules filed);
                5) 12-61419-CRM, pro se Chapter 13 filed on May 1, 2012 and
         dismissed on May 31, 2012 (for failure to pay filing fee); and
                6) 04-92813-CRM, Chapter 13 filed on April 5, 2004 and
         discharged on April 19, 2010.

                                                  10.

         Debtor has filed this pro se bankruptcy in bad faith and as part of a continued
  effort to, via multiple pro se bankruptcy filings, hinder and delay Movant from obtaining

  lawful possession of the Real Property. Because of the numerous prior unsuccessful,
  short-lived pro se bankruptcy filings that were not prosecuted, Movant seeks in rem

  relief as to any future bankruptcies filed by Debtor and/or any other party for a period of
  two years pursuant to 11 U.S.C. Section 362(d)(4) such that the automatic stay shall not

  apply to the Real Property during this two year period.
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                                              11.

         In the alternative, Movant seeks an order dismissing the above-styled matter with

  prejudice and that bars Debtor from filing a bankruptcy in any chapter for a period

  of 180 days.

                                              12.

         Movant has incurred $850.00 attorney’s fees and $181.00 costs in bringing this

  Motion and is entitled to reimbursement for same pursuant to the Loan Documents.

         WHEREFORE, Movant prays that this Court, after notice and a hearing:

                 a) Waive the stay set forth in FBR 4001(a)(3);
                 b) Terminate the automatic stay as to Movant to permit Movant to
                 enforce its security interest in the Real Property in accordance with
                 the terms of the Loan Documents and applicable non-bankruptcy
                 law, including, but not limited to, conducting a foreclosure sale,
                 seeking confirmation thereof in order to pursue any deficiency, and
                 seeking possession of the Real Property pursuant to the laws of the
                 State of Georgia;
                 c) Grant in rem relief regarding the Real Property via an order that
                 shall be binding in any other case filed by the Debtor and/or any
                 other party purporting to affect the Real Property, for a period of
                 two years pursuant to 11 U.S.C. Section 362(d)(4) such that the
                 automatic stay shall not apply to the Real Property during this two
                 year period;
                 d) Award $850.00 for the attorney’s fees and $181.00 costs
                 incurred by Movant in bringing the Motion;
                 e) In the alternative to sections (b) and (c) above, dismiss this
                 Chapter 13 case with prejudice and bar Debtor from filing a
                 bankruptcy in any chapter for a period of 180 days; and
                 f) Grant such other and further relief as this Court deems just,
                 necessary, and proper.
                 th
         This 12 day of March, 2020.
                                                       Prepared By: Attorney for Movant

                                                              /s/
                                                       Marc E. Ripps
                                                       Georgia Bar No. 606515
  P.O. Box 923533                                      Email: meratl@aol.com
  Norcross, Georgia 30010-3533
  (770) 448-5377
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  MELISSA J. DAVEY, Trustee,    )
                                )
        Respondents.            )
                                )

                       NOTICE OF ASSIGNMENT OF HEARING

         PLEASE TAKE NOTICE that Movant has filed a motion for relief from the
  automatic stay and for in rem relief, or in the alternative, for dismissal with prejudice
  (“Motion”) and related papers with the court seeking an order for relief sought in the
  Motion.

           YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully
  and discuss them with your attorney, if you have one in this bankruptcy case. (If you do
  not have an attorney, then you may wish to consult one.) If you do not want the court to
  lift the automatic stay, or if you want the court to consider your views on the Motion, then
  you or your attorney must attend a hearing on March 31, 2020, at 1:15 p.m. in
  Courtroom 1204, U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta,
  Georgia 30303. IF STAY OF ACTION IS AGAINST CO-DEBTOR, THEN 20-DAY
  STAY RESPONSE TIME, U.S.C. SECTION 1301 (d), PLUS THREE DAYS IF
  SERVICE BY MAIL. THE AUTOMATIC STAY SHALL REMAIN IN EFFECT WITH
  RESPECT TO MOVANT UNTIL COURT ORDER OTHERWISE.
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          If you or your attorney do not take these steps, then the court may decide that you
  do not oppose the relief sought in the Motion and may enter an order granting that relief.
  In the event a hearing cannot be held within thirty (30) days from the filing of the Motion
  as required by 11 U.S.C. Section 362, Movant, by and through counsel, waives this
  requirement and agrees to the next earliest possible date, as evidenced by signature
  below.
                 th
         This 12 day of March, 2020.

  PREPARED BY AND CONSENTED TO:
  Attorney for Movant


                /s/
  Marc E. Ripps
  Georgia Bar No. 606515

  P.O. Box 923533
  Norcross, Georgia 30010-3533
  (770) 448-5377
  Email: meratl@aol.com
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                                )
        Respondents.            )
                                )

                               CERTIFICATE OF SERVICE

          This is to certify that I served the parties listed below with a copy of the Motion
  for Relief from Automatic Stay and for In Rem Relief, or in the Alternative, for Dismissal
  with Prejudice, and of the Notice of Assignment of Hearing by, unless otherwise noted,
  depositing a true and correct copy of each with the United States Postal Service with
  sufficient postage affixed thereto to insure first class delivery:

  Melissa J. Davey, Esq.
  Standing Chapter 13 Trustee
  Via Electronic Notice
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  Cynthia Anderson-Grayson*
  2435 Haverford Way
  Decatur, GA 30032
         *Pro se
               th
         This 12 day of March, 2020.

                                                             /s/
                                                Marc E. Ripps
                                                Georgia Bar No. 606515

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  Norcross, GA 30010-3533
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  Email: meratl@aol.com
